                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                         Plaintiff,                )
                                                   )
       vs.                                         )      No. 20-03036-01-CR-S-SRB
                                                   )
CURTIS J. BALDWIN,                                 )
                                                   )
                         Defendant.                )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Counts One and

Two contained in the Indictment filed on June 9, 2020, is now Accepted and the Defendant is

Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the Court.




                                                         /s/ Stephen R. Bough
                                                        STEPHEN R. BOUGH
                                                   UNITED STATES DISTRICT JUDGE




Date: October 20, 2020




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